           Case 1:17-cv-02989-AT Document 957 Filed 10/09/20 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

    DONNA CURLING, et al.,                     :
                                               :
                                               :
          Plaintiffs,                          :
                                               :
    v.                                         :          CIVIL ACTION NO.
                                               :          1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,                :
                                               :
                                               :
          Defendants.                          :

                                          ORDER



         The Court has endeavored to consider all relevant evidence and information

presented to it in connection with the weighty issues presented by Plaintiffs’

Motions for Preliminary Injunction and the State's serious responsibilities for

executing an election with huge voter turnout projected in the immediate weeks

ahead.

         Still, the State must be forthright and complete in its responses to the Court’s

directive for the provision of information given on September 28, 2020 1 and as

discussed further in the Court’s remarks to counsel on October 1, 2020. It was only

on September 28th that the prospect emerged of the Secretary of State’s

proceeding with Dominion’s sudden modification of the state’s voting system


1The Court directed the State Defendants “to file a copy of the documentation subsequently
submitted to the EAC for approval in conjunction with the modified software, presuming that this
submission proceeds.” (Docket Order of September 28, 2020.)
         Case 1:17-cv-02989-AT Document 957 Filed 10/09/20 Page 2 of 3




software, without EAC approval – and further, implementing a mass swapping out

of the software in thousands of BMD voting machines without approval or perhaps

even any notification of the Election Assistance Commission.            While State

Defendants have provided some information in response to the Court’s directive,

it has been either confusing, incorrect, or misleading as to its prior representation

that a request for approval to EAC had been submitted as of October 2, 2002 as

well. (Doc. 938.)     Murkiness is not what the Court expected after its efforts at

directing clear communications in two different phone conferences during the

week of September 28th. This type of cat and mouse response over the last ten

days regarding a time sensitive significant matter has needlessly burdened the

Court as it endeavored to issue a substantial and difficult order regarding the

pending preliminary injunction motions in this case.

      Even assuming the State is correct that it had no obligation to obtain EAC

approval, the State has the responsibility to timely and candidly respond to the

Court’s information directive of September 28, 2020. The Court has both the

inherent authority and responsibility to manage this case. State Defendants are

therefore ordered to update their response to the Court’s directive of September

28, 2020 and further to answer the straightforward, obviously related questions

with requisite documentation posed in Plaintiffs’ filing of October 6, 2020 (Doc.

955), specifically:

     (1)   Was the Pro V&V report (Doc. 939) provided to the EAC and, if so,
when and by whom?



                                         2
        Case 1:17-cv-02989-AT Document 957 Filed 10/09/20 Page 3 of 3




     (2)    Was the ECO (Doc. 953-2) provided to the EAC and, if so, when and
by whom?

       (3) Has the EAC responded, formally or informally, to either the Pro V&V
Report or the ECO or any other related communication addressing the software
that is now being installed on Georgia’s BMDs and, if so, what was the response
and when was it received?

      (4) If the answer to (1) is no, why not and what was the basis for State
Defendants’ representation to the Court on Friday and their “understanding”
yesterday to the contrary?

      The information shall be provided no later than 12:30 p.m. today,

October 9, 2020.

      IT IS SO ORDERED this 9th day of October, 2020.



                                    _____________________________
                                    Amy Totenberg
                                    United States District Judge




                                      3
